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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

HELENA DIVISION
MARIA MOELLER and RON
MOELLER,
No. CV-20-22-H-SEH
Plaintiffs,
VS.

THE ALIERA COMPANIES, INC.;
TRINITY HEALTHSHARE;
TIMOTHY MOSES, SHELLEY
STEELE, CHASE MOSES, and
DOES 1-10,

Defendants.

 

 

ORDER

A hearing on the pending Motion for Protective Order is set for 9:00 a.m. on

January 14, 2021.!

Local counsel for Trinity Healthshare, Nathan A. Schacht, has requested

leave to appear at the hearing telephonically.”

A separate motion to appear telephonically at the hearing was filed on

January 11, 2021, by Sarah R. Craig, one of the pro hac vice counsel for the Aliera

 

' See Docs. 123, 135, and 137.

2 See Doc. 138.
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Companies, Inc.’

The significance of issues to be considered at the hearing warrants the
personal appearance of all local counsel and of all pro hac vice counsel who are
expected to address or will address the Court at the hearing.

ORDERED:

1. All local counsel and all pro hac vice counsel expected to address or
who will address the Court at the hearing are to be present in person on January
14, 2021.

2. The motion of local counsel Nathan A. Schacht to appear
telephonically is DENIED.*

3. Sarah R. Craig may attend the hearing telephonically if she is not
expected to address and will not address the Court at the hearing.

DATED this_//_~ day of January, 2021.

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“SAM E. HADDON
United States District Judge

 

3 See Doc. 141.

4 See Doc. 138.
